Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 1 of 11




               ATTACHMENT 6
 Speckin Forensics Qualifications and Report,
                July 27, 2023
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 2 of 11
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 3 of 11
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 4 of 11
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 5 of 11
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 6 of 11
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 7 of 11
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 8 of 11
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 9 of 11
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 10 of 11
Case 1:21-cv-02131-CJN-MAU Document 76-6 Filed 03/18/24 Page 11 of 11
